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     Attorneys for Plaintiffs                          (Additional counsel listed on signature page)
10
                                   UNITED STATES DISTRICT COURT
11
                                  NORTHERN DISTRICT OF CALIFORNIA
12
                                             SAN FRANCISCO
13
     PANGEA LEGAL SERVICES, et al.,                     Case No. 3:20-cv-7721
14
                    Plaintiffs,                         PLAINTIFFS’ MOTION FOR A
15                                                      TEMPORARY RESTRAINING ORDER
            v.                                          AND ORDER TO SHOW CAUSE
16
     U.S. DEPARTMENT OF HOMELAND                        Assigned to Hon.
17   SECURITY et al.,
                                                        Date:
18                  Defendants.                         Time:
                                                        Courtroom:
19
                                                        RELIEF REQUESTED BY 5:00 P.M.,
20                                                      NOVEMBER 19, 2020
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                   PLAINTIFFS’ MOTION FOR A TRO AND OSC – CASE NO. 3:20-cv-7721
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 1   EX PARTE MOTION FOR A TEMPORARY RESTRAINING ORDER AND ORDER TO
 2   SHOW CAUSE WHY A PRELIMINARY INJUNCTION SHOULD NOT ISSUE

 3            PLEASE TAKE NOTICE that Plaintiffs Pangea Legal Services, Dolores Street Community

 4   Services, Inc., Catholic Legal Immigration Network Inc., and Capital Area Immigrants’ Rights Coali-

 5   tion will, and do, move the Court under Federal Rule of Civil Procedure 65 for a temporary restraining

 6   order (TRO) and order to show cause why a preliminary injunction should not issue against Defendants

 7   Department of Homeland Security; Chad F. Wolf, in his purported official capacity as Acting Secre-

 8   tary of the Department of Homeland Security; United States Citizenship and Immigration Services;

 9   Kenneth T. Cuccinelli, in his official capacity as the Senior Official Performing the Duties of the

10   Director, U.S. Citizenship and Immigration Services; U.S. Immigration and Customs Enforcement;

11   Tony H. Pham, in his official capacity as the Senior Official Performing the Duties of the Director of

12   Immigration and Customs Enforcement; U.S. Customs and Border Protection; Mark A. Morgan, in

13   his official capacity as Acting Commissioner of U.S. Customs and Border Protection; United States

14   Department of Justice; William P. Barr, in his official capacity as United States Attorney General;

15   Executive Office for Immigration Review; and James McHenry, in his official capacity as Director of

16   the Executive Office for Immigration Review.

17            Plaintiffs respectfully move the Court to enter a nationwide TRO and preliminary injunction

18   maintaining the status quo and enjoining Defendants from implementing or enforcing the rule titled

19   Procedures for Asylum and Bars to Asylum Eligibility, 85 Fed. Reg. 67202 (Oct. 21, 2020) (“Final

20   Rule”), pending final judicial resolution of this action. This motion is based on this Ex Parte Motion,

21   the accompanying Complaint for Declaratory and Injunctive Relief, the accompanying Memorandum

22   of Points and Authorities, the accompanying proposed Temporary Restraining Order, the accompany-

23   ing supporting declarations, as well as the papers, evidence, and records on file in this action, and any

24   other written or oral evidence or argument presented at or before the time this motion is heard by the

25   Court.

26            As set forth in accompanying Memorandum of Points and Authorities, a TRO is necessary by

27   5:00 p.m. PT on November 19, 2020 to prevent immediate and irreparable harm to the Plaintiffs and

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 1   the populations they serve. The Final Rule is scheduled to take effect on November 20, 2020. Be-

 2   cause Defendants set the final rule to take effect 30 days after publication—an unusually short pe-

 3   riod—Plaintiffs are unable to seek a preliminary injunction on this judicial district’s ordinary schedule.

 4   Accordingly, Plaintiffs seek an expedited briefing and hearing schedule that will permit a TRO and

 5   preliminary injunction to preserve the status quo and prevent Defendants from implementing or en-

 6   forcing the Final Rule. Plaintiffs request that Defendants file their opposition brief by November 9,

 7   2020, and that plaintiffs file any reply by November 12, 2020. Plaintiffs request a hearing at the

 8   Court’s convenience.

 9          Plaintiffs’ counsel have consulted with Defendants’ counsel about this briefing schedule. De-

10   fendants propose that they file their opposition brief on November 10, 2020, and that plaintiffs file

11   any reply by November 13, 2020. Should the court hold argument, Defendants are available at the

12   Court’s convenience, but propose any date the week of November 16.

13          Notice of this Ex Parte Motion has been and will be provided to Defendants as set forth in the

14   accompanying Certificate Regarding Notice to Defendants of Ex Parte Motion.

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                         PLAINTIFFS’ MOTION FOR A TRO AND OSC – 3:20-cv-7721
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 1   November 3, 2020                                   Respectfully submitted,
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                        PLAINTIFFS’ MOTION FOR A TRO AND OSC – 3:20-cv-7721
